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                                                      U.S. DISTRICT COURT – N.D. OF N.Y.

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                                                                John M. Domurad, Clerk




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK

                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


         I, James J. Markovich, having been first duly sworn, do hereby depose and state as follows:

         1.      I have been employed as a Special Agent of the FBI since October 2003 and am

currently assigned to the Albany Division, Ithaca (NY) Resident Agency. While employed by the

FBI, I have investigated federal criminal violations related to cyber-crimes and crimes against

children. I am currently investigating federal violations concerning child pornography and the

sexual exploitation of children. I have gained experience regarding such crimes through training

in seminars, classes, and everyday work related to conducting these types of investigations.

         2.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18 United States Code, Section 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in Title 18, United States Code, Section 2516(1). As an FBI Special Agent, I am authorized to

seek and execute federal arrest and search warrants for Title 18 criminal offenses, including

offenses related to the sexual exploitation of minors, specifically those involving the possession

and distribution/receipt of child pornography in violation of Title 18, United States Code, Section

2252A.

         3.      I make this affidavit in support of a criminal complaint charging RANDOLPH

BULLOCK with knowingly possessing child pornography, in violation of Title 18 United States

Code, Section 2252A(a)(5)(B).

         4.      The statements contained in this affidavit are based upon my investigation,

information provided by other law enforcement officers, and on my experience and training as a

Special Agent of the FBI. As this affidavit is being submitted for the limited purpose of securing
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a criminal complaint and arrest warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to believe that RANDOLPH BULLOCK has violated Title 18 United States Code,

Sections 2252A(a)(5)(B).

                                    Details of the Investigation

        5.      On or about January 8, 2018, the executives at a private company, located in Ithaca,

New York, and within the North District of New York, received an anonymous letter from an

employee regarding potentially illegal conduct by another employee, RANDOLPH BULLOCK.

Specifically, the letter accused BULLOCK of having pornographic images depicting potentially

under-aged individuals on his work computer. BULLOCK was placed on administrative leave.

BULLOCK’s three work computers were taken to a local computer store to be forensically

analyzed.

        6.      Shortly after starting their forensic analysis on BULLOCK’s desktop computer, an

employee at the local computer store located images on the computer that he/she determined to be

child pornography. The computer store contacted the New York State Police (hereinafter NYSP).

BULLOCK’s employers were notified of the existence of child pornography and terminated

BULLOCK.

        7.      On the same date, NYSP Trooper Jenna Kozel responded to the computer store and

was shown images from BULLOCK’s desktop. Trooper Kozel determined that there were images

depicting child pornography. Trooper Kozel seized the three computers as evidence.

        8.      Trooper Kozel also responded to BULLOCK’s employer to further investigate the

usage of BULLOCK’s three work computers.                One employee at BULLOCK’s place of

employment, EMPLOYEE 1, told NYSP Trooper Kozel that he/she had seen pornographic images

on BULLOCK’s computer screen on numerous occasions within the last several months while
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BULLOCK was using his work computer in his cubicle. EMPLOYEE 1 was not certain if any of

the individuals in the pornographic images were under-aged but stated that some of them looked

young. EMPLOYEE 1 observed that BULLOCK appeared to be accessing pornographic images

within a specific file path/folder on the C: drive of one of his work computers. EMPLOYEE 1

provided the NYSP with the specific path/folder. EMPLOYEE 1 had also observed a spreadsheet

on BULLOCK’s work computer screen that had internet website addresses listed that contained

words such as, “young,” “girls,” and “boys.” EMPLOYEE 1 later explained to law enforcement

that he/she also noticed that BULLOCK appeared to be accessing folders and/or files over a flash

drive attached to BULLOCK’s desktop computer and that the names of some of the folders and/or

files referenced young children, boys, families or related terms, and, therefore, appeared suspicious

taken into context with the images EMPLOYEE 1 observed on BULLOCK’s computer.

       9.      On or about January 9, 2018, NYSP Investigator Timothy Mones obtained consent

from BULLOCK’s employer to search their three computers that BULLOCK had used during his

employment.1 Later in the same day, BULLOCK’s employer provided three signed NYSP

“Voluntary Consent to Search” forms.

       10.     On or about mid-2019, the NYSP completed a full forensic analysis of one of the

three computers, BULLOCK’s desktop computer, serial number 2UA42709GM (hereafter

referred to as the “COMPUTER”). The NYSP determined that approximately 362 image files

depicted possible child pornography. Some of the images were found in the specific file path/folder

described by EMPLOYEE 1.           I have since reviewed the NYSP forensic analysis and have



1        On or about February 1, 2019, BULLOCK’s employer provided the NYSP with a copy of
BULLOCK’s General Handbook Acknowledgement form, signed by BULLOCK. On or about
February 19, 2019, the same executive provided your affiant with a copy of their “General
Employee Handbook” which explained, in relevant part, that users have no expectation of privacy
in their use of the employer’s systems.
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determined that child pornography, as defined by 18 U.S.C. § 2256(8), is present on the

COMPUTER.       Specifically, three of the images depicting child pornography found on the

COMPUTER are described as:

   a) images_285.jpg – This image depicts a nude pre-pubescent minor female lying on a bed

       on her back with her vagina exposed in a lewd and lascivious manner. The pre-pubescent

       minor female’s vagina is the focal point of the image.

   b) F4T2RYK5q2zDGNZcrNsQZ1wFSHGUK0pKkjKEHsaYhZmjqgWpv_QMBIoAHEp36

       Pe3eYQPZUBKmS3HJjFy2eD15ClhHCDlXT05l1b5B4bonZI.jpg (herein referred to as

       F4T2R…bonZI.jpg ) – This image depicts a nude pre-pubescent minor male squatting with

       his penis and testicles exposed in a lewd and lascivious manner. The pre-pubescent minor’s

       penis and testicles are the focal point of the image.

   c) images_048.jpg – This image depicts two nude pubescent minor females lying on a couch,

       with one on top of the other, facing away from the camera. The prepubescent minor

       females have their vaginas and anuses exposed in a lewd and lascivious manner.

       11.     The NYSP forensic analysis of the COMPUTER located an Excel spreadsheet file

on the COMPUTER. The author of the Excel spreadsheet file within the file’s properties was

“Bullock, Randy.” The Excel spreadsheet file had a tab labeled “searches” and within it were

search and/or keyword terms associated with child pornography. The Excel spreadsheet file also

had a tab labeled “links” and within it were internet website addresses that had child pornography

associated keywords within some of their names. Some of the search terms in the spreadsheet

included “RU Small Boys Penis” and “little boy intact penis.”

       12.     The NYSP forensic analysis of the COMPUTER also located internet search

queries containing keywords consistent with searches for child pornographic content including

“Naked Toddler Boys Penis Erection.” The NYSP forensic analysis of the COMPUTER further
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